

People v Prado (2025 NY Slip Op 50181(U))



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People v Prado (Santiago)


2025 NY Slip Op 50181(U)


Decided on January 31, 2025


Appellate Term, Second Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on January 31, 2025
SUPREME COURT, APPELLATE TERM, SECOND DEPARTMENT, 2d, 11th and 13th JUDICIAL DISTRICTS
PRESENT: : WAVNY TOUSSAINT, P.J., CHEREÉ A. BUGGS, LISA S. OTTLEY, JJ



2022-825 RI CR

The People of the State of New York, Respondent,
againstSantiago Prado, Appellant. 




Appellate Advocates (Maisha Kamal of counsel), for appellant.
Richmond County District Attorney (Thomas B. Litsky and Rhys Johnson of counsel), for respondent.

Appeal from a judgment of the Criminal Court of the City of New York, Richmond County (Biju J. Koshy, J., at plea; Gerianne Abriano, J., at sentence), rendered August18, 2022. The judgment convicted defendant, upon a plea of guilty, of leaving the scene of an incident without reporting personal injury (Vehicle and Traffic Law § 600 [2] [a]), and imposed sentence. Assigned counsel has submitted a brief in accordance with Anders v California (386 US 738 [1967]) seeking leave to withdraw as counsel.




ORDERED that the judgment of conviction is affirmed.
We are satisfied with the sufficiency of the brief filed by defendant's assigned counsel pursuant to Anders v California (386 US 738 [1967]), and, upon an independent review of the record, we conclude that there are no nonfrivolous issues which could be raised on appeal. Counsel's application for leave to withdraw as counsel is, therefore, granted (see id.; People v Murray, 169 AD3d 227 [2019]; Matter of Giovanni S. [Jasmin A.], 89 AD3d 252 [2011]; People v Paige, 54 AD2d 631 [1976]; cf. People v Gonzalez, 47 NY2d 606 [1979]).
TOUSSAINT, P.J., BUGGS and OTTLEY, JJ., concur.

ENTER:
Paul Kenny
Chief Clerk
Decision Date: January 31, 2025









